              IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF IOWA
                        WESTERN DIVISION


UNITED STATES OF AMERICA,
           Plaintiff,                         No. CR07-4084-DEO
vs.                                    ORDER REGARDING MOTION FOR
                                      SENTENCE REDUCTION PURSUANT
JORGE MARTINEZ-CISNEROS,
                                                   TO
           Defendant.                    18 U.S.C. § 3582(c)(2)

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      This matter comes before the court on the defendant’s

motion to reduce sentence (Docket No. 164).                The defendant

filed such motion on November 13, 2014.1

      The United States Sentencing Commission recently revised

the United States Sentencing Guidelines (“USSG”) applicable to

drug trafficking offenses by changing how the base offense

levels in the drug quantity tables incorporate the statutory


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       In light of the record, the court concludes that it
need not appoint counsel or conduct a hearing. See United
States v. Harris, 568 F.3d 666, 669 (8th Cir. 2009)
(concluding that there is no right to assistance of counsel
when pursuing relief under 18 U.S.C. § 3582(c) and finding
that a judge need not hold a hearing on a motion pursuant to
18 U.S.C. § 3582(c)); see also United States v. Burrell, 622
F.3d 961, 966 (8th Cir. 2010) (clarifying that “[a]ll that is
required is enough explanation of the court’s reasoning to
allow for meaningful appellate review”); Fed. R. Crim. P.
43(b)(4) (stating that a defendant’s presence is not required
in a proceeding that involves the reduction of a sentence
under 18 U.S.C. § 3582(c)).

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mandatory minimum penalties for such offenses.             Specifically,

Amendment 782 (subject to subsection (e)(1)) generally reduces

by two levels the offense levels assigned to the quantities

that trigger the statutory mandatory minimum penalties in USSG

§2D1.1 and made parallel changes to USSG §2D1.11.                  Because

Amendment    782    (subject   to   subsection    (e)(1))      alters    the

threshold amounts in the drug quantity tables in USSG §2D1.1

and USSG §2D1.11, many, but not all, drug quantities will have

a base offense level that is two levels lower than before

Amendment 782 (subject to subsection (e)(1)).

      The   court   is   statutorily    precluded     from     applying       a

federal sentencing guideline amendment retroactively unless

the   United    States    Sentencing    Commission       designates          an

amendment for retroactive application.           In relevant part, 18

U.S.C. § 3582 provides:

            The court may not modify a term of
            imprisonment once it has been imposed
            except that . . . in the case of a
            defendant who has been sentenced to a term
            of imprisonment based on a sentencing range
            that has subsequently been lowered by the
            Sentencing Commission pursuant to 28 U.S.C.
            [§] 994(o), upon motion of the defendant or
            the Director of the Bureau of Prisons, or
            on its own motion, the court may reduce the
            term of imprisonment, after considering the
            factors set forth in [18 U.S.C. §] 3553(a)
            to the extent that they are applicable, if
            such a reduction is consistent with


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              applicable policy statements issued by the
              Sentencing Commission.

18 U.S.C. § 3582(c)(2); see also Dillon v. United States, 560

U.S. 817, 826 (2010) (“Section 3582(c)(2)’s text, together

with    its    narrow   scope,   shows   that    Congress        intended       to

authorize only a limited adjustment to an otherwise final

sentence and not a plenary resentencing proceeding.”); United

States v. Auman, 8 F.3d 1268, 1271 (8th Cir. 1993) (“Section

3582(c)(2) is a provision that permits a district court to

reduce a term of imprisonment if the sentencing range upon

which the term was based is subsequently lowered by the

Sentencing Commission.”).

       The United States Sentencing Commission promulgated USSG

§1.B1.10 to implement 28 U.S.C. § 994(u) and to provide

guidance to a court when considering a motion under 18 U.S.C.

§ 3582(c)(2).      In relevant part, USSG §1B1.10 states:

              In a case in which a defendant is serving
              a term of imprisonment, and the guideline
              range applicable to that defendant has
              subsequently been lowered as a result of an
              amendment to the Guidelines Manual listed
              in subsection (d) below, the court may
              reduce the defendant’s term of imprisonment
              as provided by 18 U.S.C. § 3582(c)(2). As
              required by 18 U.S.C. § 3582(c)(2), any
              such reduction in the defendant’s term of
              imprisonment shall be consistent with this
              policy statement.



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USSG §1B1.10(a)(1); see also USSG §1B1.10, comment. (n.1)

(“Eligibility for consideration under 18 U.S.C. § 3582(c)(2)

is triggered only by an amendment listed in subsection (d)

that lowers the applicable guideline range . . . .”).                            In

addition to specifying which federal sentencing guidelines may

be retroactively applied, USSG §1B1.10 guides the court as to

the amount by which a sentence may be reduced under 18 U.S.C.

§ 3582(c)(2).    See USSG §1B1.10(b)(1).

    On July 18, 2014, the United States Sentencing Commission

unanimously     voted    to    apply       Amendment    782       (subject       to

subsection (e)(1)) retroactively to most drug trafficking

offenses, and it set November 1, 2014, as the date that

Amendment 782 (subject to subsection (e)(1)) would go into

effect.     Stated      differently,       Amendment     782      (subject       to

subsection (e)(1)) is included within subsection (d) of USSG

§1B1.10.   Consequently, under 18 U.S.C. § 3582(c)(2) and USSG

§1B1.10, the court may rely on Amendment 782 (subject to

subsection (e)(1)) to reduce a defendant’s sentence.                         But,

even if Amendment 782 (subject to subsection (e)(1)) is

applicable, a special limiting instruction applies:                          “The

court shall not order a reduced term of imprisonment based on

Amendment 782 unless the effective date of the court’s order



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is November 1, 2015, or later.”        USSG §1B1.10(e)(1); see also

Amendment 788 (amending USSG §1B1.10).

    At the court’s request, the United States Probation

Office   prepared   a   memorandum     that,     among     other    things,

addresses the defendant’s eligibility for a sentence reduction

under 18 U.S.C. § 3582(c)(2) and calculates the defendant’s

amended guideline range.       The United States Probation Office

also provided the court with additional information in support

of its memorandum.       That information includes, but is not

limited to, the defendant’s pre-sentence investigation report

and the Federal Bureau of Prison’s report on the defendant.

    Pursuant to 18 U.S.C. § 3582(c)(2) and USSG §1B1.10, the

court concludes that a sentence reduction is justified.                   See

United States v. Curry, 584 F.3d 1102, 1104 (8th Cir. 2009)

(discussing United States v. Wyatt, 115 F.3d 606, 608-09 (8th

Cir. 1997)) (explaining requirements under USSG §1B1.10(b)).

Having reviewed the defendant’s file, the provisions and

commentary of USSG §1B1.10, the factors set forth in 18 U.S.C.

§ 3553(a), the nature and seriousness of the danger to any

person or community that may be posed by a reduction in the

defendant’s term of imprisonment and the defendant’s post-

sentencing conduct, the court deems it appropriate to exercise

its discretion and grant the defendant the maximum reduction

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permitted under 18 U.S.C. § 3582(c)(2) and USSG §1B1.10.2                              The

defendant’s previously imposed 136 month term of imprisonment,

as reflected in the judgment dated December 29, 2008, is

reduced to 121 months imprisonment.                    In the event that the

defendant         already     served    121     months    imprisonment            as      of

November 2, 2015, the defendant’s sentence is reduced to time

served as of November 2, 2015.                    See USSG §1B1.10(b)(2)(C)

(prohibiting a term of imprisonment that is “less than the

term of imprisonment the defendant has already served”); see

also       id.,     comment.     (n.3)     (stating       that    the          term       of

imprisonment may not be reduced below time served).                                    The

defendant’s new sentence of 121 months imprisonment applies to

count 1 of the indictment.                 Except as provided above, all

provisions of the judgment dated December 29, 2008 remain in

effect.           The duration and conditions of the defendant’s

supervised release remain unchanged.                     This order will take

effect on November 2, 2015.

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      For purposes of the instant order, the court relied on
the following determinations:
Previous Offense         31                   Amended Offense          29
Level:                                        Level:
Criminal History         IV                   Criminal History         IV
Category:                                     Category:
Previous Guideline       151 to 188           Amended Guideline        121 to 151
Range:                   months               Range:                   months
The reduced sentence of 121 months imprisonment on count 1 of
the indictment is within the amended guideline range.

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    Because a reduction under 18 U.S.C. § 3582(c)(2) and USSG

§1B1.10 is appropriate, the defendant’s motion to reduce

sentence (Docket No. 164) is granted.          The clerk’s office is

directed to send and fax or email a copy of this order to the

Federal Bureau of Prisons, that is, the place where the

defendant, USM No. 02345-029, is currently incarcerated.                 The

clerk’s office is also directed to send a copy of this order

to the defendant,3 the office of the Federal Public Defender,

the office of the United States Attorney and the office of

United States Probation.

    IT IS SO ORDERED this 9th day of February, 2015.


                                 __________________________________
                                 Donald E. O’Brien, Senior Judge
                                 United States District Court
                                 Northern District of Iowa




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      The Court has also submitted for filing with this Order
a letter written to the Defendant. This letter should also be
mailed to the Defendant with a copy of this Order.

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